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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

UNITED STATES OF AMERICA                        §
                                                §
                                                §
                                                §
VS.                                             §     CRIMINAL NO. H-11-165
                                                §
                                                §
DIN CHANEY                                      §


                                          ORDER

       Din Chaney’s Unopposed Motion to Travel is granted. Din Chaney is allowed to travel

to Orlando, Florida during the dates of August 8 - August 15, 2012. Chaney must notify the

probation officer within 24 hours of returning to Houston.

              SIGNED on July 9, 2012, at Houston, Texas.

                                                    ______________________________________
                                                             Lee H. Rosenthal
                                                       United States District Judge
